          Case 2:06-cr-00251-RSM          Document 17        Filed 07/31/06     Page 1 of 3




01

02

03

04

05

06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR06-251-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   CUONG MINN PARKER,                   )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Distribute Marijuana; Use of a Communication Facility to Facilitate a Drug

16 Offense

17 Date of Hearing:

18          July 31, 2006

19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

20 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

21 that no condition or combination of conditions which defendant can meet will reasonably assure

22 the appearance of defendant as required and the safety of other persons and the community.

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 1
           Case 2:06-cr-00251-RSM           Document 17        Filed 07/31/06      Page 2 of 3




01          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          (1)     Defendant has been indicted for a drug offense for which the maximum penalty is

03 in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

04 dangerousness and flight risk, under 18 U.S.C. § 3142(e).

05          (2)     There are discrepancies in the record concerning defendant’s current residence.

06 He refuses to divulge his current residence address. He has an uneven employment history. His

07 past criminal record includes a failure to appear for a court hearing. The criminal history includes

08 charges for assault, reckless endangerment in the first degree, violations of supervision, burglary,

09 assault with a deadly weapon, extortion, and unlawful possession of a firearm. The AUSA

10 proffers that the defendant admitted to current activities involving weapons dealing.

11          (3)     Nothing in the record effectively rebuts the presumption of detention.

12          (4)     There does not appear to be any condition or combination of conditions that will

13 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

14 to other persons or the community.

15 It is therefore ORDERED:

16          (1)     Defendant shall be detained pending trial and committed to the custody of the

17                  Attorney General for confinement in a correction facility separate, to the extent

18                  practicable, from persons awaiting or serving sentences or being held in custody

19                  pending appeal;

20          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

21                  counsel;

22          (3)     On order of a court of the United States or on request of an attorney for the

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
     PAGE 2
         Case 2:06-cr-00251-RSM           Document 17       Filed 07/31/06      Page 3 of 3




01                Government, the person in charge of the corrections facility in which defendant is

02                confined shall deliver the defendant to a United States Marshal for the purpose of

03                an appearance in connection with a court proceeding; and

04         (4)    The clerk shall direct copies of this Order to counsel for the United States, to

05                counsel for the defendant, to the United States Marshal, and to the United States

06                Pretrial Services Officer.

07         DATED this 31st day of July, 2006.

08

09
                                                A
                                                Mary Alice Theiler
                                                United States Magistrate Judge
10

11

12

13

14

15

16

17

18

19

20

21

22

     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
     PAGE 3
